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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                )
ENVIRONMENTAL INTEGRITY                         )
PROJECT, et al.,                                )
                                                )
                Plaintiffs,                     )
                                                )
                v.                              )       No. 20-cv-1734 (KBJ)
                                                )
ANDREW WHEELER, in his official                 )
capacity as Administrator of the U.S.           )
Environmental Protection Agency, et             )
al.,                                            )
                                                )
                Defendants.                     )
                                                )

                     ORDER GRANTING MOTION TO INTERVENE

        On June 25, 2020, Plaintiffs Environmental Integrity Project, Food & Water

Watch, Gunpowder Riverkeeper, Lower Susquehanna Riverkeeper, and Patuxent

Riverkeeper (“Plaintiffs”) filed the instant action against Defendants Andrew Wheeler,

the United States Environmental Protection Agency, Rickey Dale James, and the United

States Army Corps of Engineers (“Federal Defendants”). (See Compl., ECF No. 1, at

1–2, 52.) 1 Plaintiffs challenge a rule that the Federal Defendants promulgated in 2020,

which defines “waters of the United States” for purposes of the Clean Water Act; they

allege that the rule must be vacated because it violates the Administrative Procedure

Act, 5 U.S.C. § 551 et seq. (See id. ¶¶ 2–3, 18.)

        Before this Court at present is a Motion to Intervene that fifteen trade groups

(“Business Entities”) have filed, in which they seek to intervene as defendants. (See


1
 Page-number citations to documents that the parties have filed refer to the page numbers that the
Court’s electronic filing system automatically assigns.
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Mot. to Intervene of Proposed Business Intervenors (“Business Entities’ Mot.”), ECF

No. 8, at 1–2; Mem. in Supp. of Mot. to Intervene (“Business Entities’ Mem.”), ECF

No. 8-1, at 12.) 2 The Business Entities allege that they will be “significantly harmed if

Plaintiffs succeed” in this lawsuit, and argue that they are entitled to intervene, either as

a matter of right under Federal Rule of Civil Procedure 24(a), or permissively under

Federal Rule of Civil Procedure 24(b). (See Business Entities’ Mem. at 8, 21, 25.)

Plaintiffs oppose the Business Entities’ motion, contending inter alia that the Federal

Defendants adequately represent any interests that the Business Entities might have in

this action such that intervention as of right is unwarranted, and that the Business

Entities have failed to satisfy the jurisdictional and equity-based requirements of

permissive intervention. (See Pls.’ Mem. in Opp’n to Mot. to Intervene of Proposed

Business Intervenors (“Pls.’ Opp’n”), ECF No. 13, at 18, 30.)

       For the reasons explained below, this Court finds that the Business Entities have

significant interests that the instant litigation might impair, and that the Federal

Defendants may not be in a position to represent those interests adequately in the

context of this case. Accordingly, the Court concludes that the Business Entities are

entitled to intervene as of right, and, as a result, the Court need not address whether the

Business Entities also satisfy the requirements of permissive intervention.

                                                  I.

       To intervene as a matter of right, a movant must demonstrate that (1) the motion


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 These fifteen trade groups include the American Farm Bureau Federation; American Petroleum
Institute; American Road and Transportation Builders Association; Chamber of Commerce of the
United States of America; Edison Electric Institute; Leading Builders of America; National Alliance of
Forest Owners; National Association of Home Builders; National Cattlemen’s Beef Association;
National Corn Growers Association; National Mining Association; National Pork Producers Council;
National Stone, Sand, and Gravel Association; Public Lands Council; and U.S. Poultry & Egg
Association. (Business Entities’ Mot. at 1.)


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to intervene is timely; (2) the movant has “an interest relating to the property or

transaction which is the subject of the action”; (3) “the action may as a practical matter

impair or impede” that interest; and (4) the existing parties do not “adequately

represent[]” the movant’s interest. Fund for Animals, Inc. v. Norton, 322 F.3d 728, 731

(D.C. Cir. 2003) (citing Fed. R. Civ. P. 24(a)).

       As a threshold matter, Plaintiffs argue that, under D.C. Circuit precedent, the

Business Entities must also demonstrate Article III standing in order to intervene as

defendants as a matter of right. (See Pls.’ Opp’n at 8, 11 (citing Fund for Animals, 322

F.3d at 732 and Crossroads Grassroots Policy Strategies v. Fed. Election Comm’n, 788

F.3d 312, 316 (D.C. Cir. 2015)).) The cases on which Plaintiffs rely, however, predate

the Supreme Court’s recent pronouncement that a party who is not “invoking a court’s

jurisdiction” or seeking additional relief is not required to make an independent

showing of Article III standing. See Va. House of Delegates v. Bethune-Hill, 139 S. Ct.

1945, 1951 (2019) (noting that, because an intervenor was not “invoking a court’s

jurisdiction” in the proceedings below, where it appeared as an intervenor in support of

defendants and later as an appellee, “it was not previously incumbent on the

[intervenor] to demonstrate its standing”); Town of Chester v. Laroe Estates, Inc., 137

S. Ct. 1645, 1651 (2017) (“For all relief sought, there must be a litigant with standing,

whether that litigant joins the lawsuit as a plaintiff, a coplaintiff, or an intervenor of

right. Thus, at the least, an intervenor of right must demonstrate Article III standing

when it seeks additional relief beyond that which the plaintiff requests.”); see also

Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367,

2379 n.6 (2020) (stating that the appellate court “erred by inquiring into [the




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intervenor’s] independent Article III standing” where the intervenor sought the same

relief as the defendant-appellant).

       This Court therefore concludes that, because the Business Entities are seeking to

intervene as defendants, and are not invoking the Court’s jurisdiction—let alone

seeking “relief that is broader than or different from the party invoking [the] [C]ourt’s

jurisdiction[,]” see Little Sisters, 140 S. Ct. at 2379 n.6—they are not required to

demonstrate that they have Article III standing. And while the Court recognizes that

some courts in this district have continued to require intervenor-defendants to

demonstrate standing in light of the D.C. Circuit’s prior holdings, see, e.g., Red Lake

Band of Chippewa Indians v. U.S. Army Corps of Engineers, No. 20-cv-3817, 2021 WL

75744, at *2 n.1 (D.D.C. Jan. 9, 2021), the Circuit’s holdings in this regard predate, and

are plainly inconsistent with, the Supreme Court’s recent opinions.

                                             II.

       In the Court’s view, as explained below, the Business Entities have filed a timely

motion that pertains to a significant property interest that the instant litigation might

impair, and the Federal Defendants’ stake in this action is sufficiently distinct that they

may not provide adequate representation concerning the Business Entities’ interest.

       First, there is no dispute that the Business Entities’ motion is timely. (See Pls.’

Opp’n at 18 (“Plaintiffs do not dispute that the Motion is timely.”); Business Entities’

Mem. at 21–22.) The motion was filed less than three weeks after Plaintiffs filed their

complaint and before the Federal Defendants had filed their answer. (See Compl;

Notice of Filing Answer, ECF No. 18.) See also, e.g., Fund for Animals, 322 F.3d at

735 (holding that a motion was timely when the intervenor filed the motion “less than




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two months after the plaintiffs filed their complaint and before the defendants filed an

answer”).

       Next, there is no doubt that the Business Entities have “an interest relating to the

property or transaction that is the subject of the action[.]” See Fed. R. Civ. P. 24(a).

Where, as here, a party seeks to intervene to defend a rule or regulation, the party can

satisfy Rule 24(a)’s “interest” requirement by showing that the rule directly regulates

the party or its property. See Fund for Animals, 322 F.3d at 733, 735. The Business

Entities have done exactly that: as they explain in their motion, their members “own or

use land for a broad variety of business purposes” (see Business Entities’ Mem. at 7),

and the rule at issue in this litigation “dictates the regulatory scheme under which . . .

[such] members must operate” (id. at 22) when “comply[ing] with the [Clean Water

Act’s] prohibition against unauthorized ‘discharges’ into any areas on their land” that

qualify as waters of the United States (id. at 17). As regulated parties, the Business

Entities’ members have an obvious stake in the outcome of litigation that challenges the

requirements and regulations governing the use of their property.

       The Business Entities have also demonstrated that “the action may as a practical

matter impair or impede [their] ability to protect” their own interests. See Fed. R. Civ.

P. 24(a). When assessing whether a movant’s interests may be impaired by the outcome

of a lawsuit, courts must focus on the “practical consequences of denying intervention,”

Nat. Res. Def. Council v. Costle, 561 F.2d 904, 909 (D.C. Cir. 1977) (internal quotation

marks and citation omitted), and should not reject a movant’s request to intervene

solely because the movant could theoretically “reverse an unfavorable ruling by

bringing a [subsequent] lawsuit,” Fund for Animals, 322 F.3d at 735. In this regard, the




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Business Entities argue that, if the current rule is vacated and the prior rule’s more

expansive definition of “waters of the United States” is reinstated (see Business

Entities’ Mem. at 11), the Business Entities’ members would “face greater regulatory

burdens, costs, interference with business activities on their land, as well as greater

exposure to potential lawsuits and liability” (see id. at 18). These are all “practical

consequences” that could flow from a ruling in Plaintiffs’ favor, see Costle, 561 F.2d at

909, and such consequences certainly have the potential to hinder the ability of the

Business Entities’ members to use their land and conduct their businesses.

       Finally, the Court concludes further that the Federal Defendants may not

adequately represent the Business Entities’ interests in the instant context. As the

Supreme Court has explained, to satisfy the fourth requirement for intervention as of

right, a movant need only show “that representation of his interest ‘may be’ inadequate;

and the burden of making that showing should be treated as minimal.” Trbovich v.

United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972). In addition, the D.C.

Circuit generally “look[s] skeptically on government entities serving as adequate

advocates for private parties[,]” Crossroads Grassroots Policy Strategies v. Fed.

Election Comm’n, 788 F.3d 312, 321 (D.C. Cir. 2015), and has “often concluded that

governmental entities do not adequately represent the interests of aspiring

intervenors[,]” Fund for Animals, 322 F.3d at 736. Here, although the interests of the

Business Entities and the Federal Defendants are generally aligned—insofar as they

both argue that the current rule is lawful—the Federal Defendants necessarily have a

more complex range of interests and concerns, given that they must represent the

broader public when promulgating and defending rules. See id. (explaining that, even




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though the agency defendant and the proposed intervenor had overlapping interests and

agreed that the rules at issue were legal, the agency also had an “obligation” to

“represent the interests of the American people” and thus had different priorities than

the proposed intervenor).

      What is more, given the recent change in administration, it is not at all clear that

the Federal Defendants will continue to defend the prior administration’s rule. (See

Business Entities’ Mem. in Supp. of Request for Ruling, ECF No. 25, at 5.) Indeed, on

January 20, 2021, President Biden issued an executive order requiring agency heads to

review environmental rules such as the one at issue in this case, see Exec. Order No.

13,990, 86 Fed. Reg. 7037 (Jan. 20, 2021); see also United States White House, Fact

Sheet: List of Agency Actions for Review (Jan. 20, 2021), https://perma.cc/QT29-D6WF,

and the Environmental Protection Agency has asked the Department of Justice to “seek

and obtain abeyances or stays of proceedings in pending litigation seeking judicial

review of any EPA regulation promulgated between January 20, 2017, and January 20,

2021,” Letter from Melissa A. Hoffer, Acting General Counsel for the Environmental

Protection Agency to Jean E. Williams and Bruce S. Gelber, Deputy Assistant

Attorneys General at the Environment and Natural Resources Division of the

Department of Justice (Jan. 21, 2021), https://perma.cc/W5ZC-B7L9. In light of these

developments, it is entirely possible that the interests of the Federal Defendants and the

Business Entities might “diverge during the course of litigation[,]” Fund for Animals,

322 F.3d at 736, such that the Federal Defendants’ representation of the Business

Entities’ interests “‘may be’ inadequate[,]” Trbovich, 404 U.S. at 538 n.10.




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      Consequently, this Court concludes that the Business Entities are entitled to

intervene under Rule 24(a), as a matter of right. See Fed. R. Civ. P. 24(a).

                                           III.

      Accordingly, it is hereby

      ORDERED that the Business Entities’ Motion to Intervene (ECF No. 8) is

GRANTED. The Business Entities are permitted to participate in this matter as

Intervenor-Defendants.

DATE: January 27, 2021                   Ketanji Brown Jackson
                                         KETANJI BROWN JACKSON
                                         United States District Judge




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